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                United States Court of Appeals
                                For the Seventh Circuit
                                Chicago, Illinois 60604

                                     January 5, 2016

                                         Before

                         JOEL M. FLAUM, Circuit Judge

                         MICHAEL S. KANNE, Circuit Judge

                         DIANE S. SYKES, Circuit Judge

No. 13-3837

KEVIN B. DUFF, as Receiver for                  Appeal from the
Central Sleep Diagnostics, LLC,                 United States District Court for the
           Plaintiff-Appellee,                  Northern District of Illinois,
                                                Eastern Division.
      v.
                                                No. 10 C 6162
CENTRAL SLEEP DIAGNOSTICS,
LLC, et al.,                                    Rebecca R. Pallmeyer,
            Defendants.                         Judge.

Appeal of: GOODMAN TOVROV HARDY & JOHNSON LLC



                                       ORDER

       On September 10, 2015, we affirmed the district court’s judgment in favor of
plaintiff-appellee Kevin B. Duff, as receiver for Central Sleep Diagnostics, LLC, against
Goodman Tovrov Hardy & Johnson LLC (“Goodman”), the appellant and a claimant in
the receivership. Op. at 21, ECF No. 35. We also found Goodman’s appeal frivolous,
granted Duff’s motion for sanctions under Rule 38 of the Federal Rules of Appellate
Procedure, and invited him to submit, within 28 days, an affidavit and supporting
papers specifying his damages from this frivolous appeal. Id. He has done so. Our
opinion gave Goodman 28 days to respond, and he has done so. Finally, we accepted
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Duff’s reply in support of his petition for attorneys’ fees and costs. The matter is now
ready for decision.

       Goodman objects to Duff’s petition for costs as untimely under Rule 39. That
objection is frivolous. As we’ve just explained, our opinion granted Duff’s motion for
Rule 38 sanctions and gave him 28 days to submit a statement of his damages,
overriding the generally applicable 14-day deadline to submit a bill of costs. See FED. R.
APP. P. 39. Duff’s petition itemizing his fees and costs was submitted within the 28-day
deadline and is therefore timely.

      Duff requests an award of double his attorneys’ fees and costs. That request is
denied.

       Goodman objects to $525.60 of the total claimed costs as inadequately
documented and otherwise improper. Duff does not object to deducting that amount
from the Rule 38 award. We will do so. The unchallenged costs total $130.99. We award
that amount in costs.

       Duff’s petition itemizes $69,253.50 in attorneys’ fees for his defense against this
frivolous appeal. The total includes his own time; time billed by a partner, an associate,
and a paralegal at his law firm; and time billed by his counsel, James Koch, and an
associate at his law firm. Goodman objects that these fees are not recoverable because
Duff has not paid them. That’s incorrect. See Cent. States, Se. & Sw. Areas Health &
Welfare Fund v. Lewis, 745 F.3d 283, 287 (7th Cir. 2014) (“The plan was represented by an
in-house lawyer, but that doesn’t defeat a claim for [Rule 38] attorneys’ fees. Rather, in
such a case the amount awarded is based on the market price of those services in the
law firm market.”). Goodman more generally objects that the fees are excessive and
include some double-billing. We disagree and find the requested attorneys’ fees are
reasonable under the circumstances. Accordingly, we award attorneys’ fees in the
amount of $69,253.50.

      In sum, we grant Duff’s request for attorneys’ fees in the amount of $69,253.50
and costs in the amount of $130.99.

                                                        RULE 38 SANCTIONS AWARDED.
